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 2   District of Arizona
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     Attorneys for Plaintiff
 7
 8                            UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF ARIZONA
10
     United States of America,                             No. CR-19-01199-PHX-SMB
11
                           Plaintiff,
12                                                         MOTION TO CONTINUE
              vs.                                             SENTENCING
13
14   Jesse Don Moquino,                                   (Government’s Third Request)
15                         Defendant.
16          The United States of America, by and through undersigned counsel, hereby moves
17   to continue the sentencing hearing set October 4, 2021, for two weeks. Government’s
18   counsel will be on annual leave and out of town during the time set for sentencing and
19   through that week.
20          Defense Counsel for Defendant, Jeffrey Williams, has been contacted regarding this
21   motion and there is no objection.
22          It is not expected that excludable delay under Title 18 U.S.C. § 3161 will occur as
23   a result of this motion or an order based thereon.
24          Respectfully submitted this 10th day of September, 2021.
25                                                    GLENN B. McCORMICK
                                                      Acting United States Attorney
26                                                    District of Arizona
27                                                     s/Raynette M. Logan
                                                      RAYNETTE M. LOGAN
28                                                    Assistant U.S. Attorney
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                                 CERTIFICATE OF SERVICE
 1
 2         I hereby certify that on the 10th day of September, 2021, I electronically transmitted
 3   the attached document to the Clerk's Office using the CM/ECF System for filing and
 4   transmittal of a Notice of Electronic Filing to the following CM/ECF registrant: Jeffrey
 5   Williams.
 6
      s/Dominique Santillanes      _
 7   U.S. Attorney’s Office
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